Case 8:24-cv-01248-KKM-AAS Document 116-6 Filed 11/01/24 Page 1 of 2 PagelD 811

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

MSR MEDIA SKN LTD., MSR
HOTELS & CO. LTD., MSR

MEDIA INTERNATIONAL LLC, CASE NO.: 8:24-cv-01248-
and PHILIPPE MARTINEZ, KKM-AAS

Plaintiffs,
VS.

LESLIE KHAN, CARIBBEAN

GALAXY REAL ESTATE CORP.
CARIBBEAN GALAXY REAL ESTATE
LTD., YING JIN, TIMOTHY HARRIS,
DENZIL DOUGLAS, CARIB TRUST LTD.,
FARON LAWRENCE, ST. KITTS-NEVIS-
ANGUILLA NATIONAL BANK LTD., and
MC CLAUDE EMMANUEL,

Defendants.
f

DECLARATION OF MC CLAUDE EMMANUEL IN SUPPORT OF MOTION TO
DISMISS

1, MC Claude Emmanuel, declares as follows in lieu of an affidavit as
permitted by 28 U.S.C. § 1746:

1. ! am over eighteen years of age and of sound mind. | submit this
declaration in support of my Motion to Dismiss. | have personal knowledge of the
facts below and could testify to them if called as a witness.

2. lam a citizen and resident of Saint Lucia.

3. Saint Lucia is an independent sovereign state, is member of the

British Commonwealth and operates on a Parliamentary system.
Case 8:24-cv-01248-KKM-AAS Document 116-6 Filed 11/01/24 Page 2 of 2 PagelD 812

4. | am the Chief Executive Officer of the Saint Lucia Citizenship by
Investment Unit. | was appointed by the Citizenship by Investment Board in
March 2022.

5: The Citizenship by Investment Unit administers the Saint Lucia
Citizenship by Investment Program. The Saint Lucia CIP provides a path to
citizenship and a passport to qualified foreign nationals who invest in St. Lucia.

| declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

Executed on this qtaay of October, 2024 A

MC Claude Emmanuel

